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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 ----------------------------------------------------------------------- x
 SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,                                        16 Civ. 1619 (JLL) (JAD)

          -against-

 GUY GENTILE,

                            Defendant.
 ----------------------------------------------------------------------- x




                   PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION
                         TO DEFENDANT'S MOTION TO DISMISS




                                                      SECURITIES AND EXCHANGE
                                                      COMMISSION
                                                             Nancy A. Brown
                                                              Simona K. Suh
                                                             Jorge G. Tenreiro
                                                      200 Vesey Street, Suite 400
                                                      New York, New York 10281-1022
                                                      (212) 336-9145 (Tenreiro)
                                                      tenreiroj@sec.gov

                                                       Attorneys for Plaintiff


 November 17, 2017
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         Plaintiff Securities and Exchange Commission (the "Coininission") respectfully submits this

  Memorandum of Law in opposition to the motion of Defendant Guy Gentile to dismiss the

  Amended Complaint.

                                         Preliminary Statement

          The Amended Complaint (DE 47 ("Am. Compl.")) details Defendant's participation in two

  highly profitable unregistered penny stock manipulation, fraudulent promotion, and unlawful

  distribution schemes that began in 2007. It also includes allegations supporting a finding that there

  is a reasonable likelihood that, unless enjoined, Defendant will engage in further violations in the

  future, and, therefore, that an injunction is necessary for the protection of investors.

          Defendant does not challenge the sufficiency of the allegations to establish securities fraud

  ar~d other a}leged violations. Rather, he challenges the Court's power to enjoin him, arguing that any

  injunction here would be punitive and therefore barred by the five year statute of limitations set by

  28 U.S.C. 12462 under the Supreme Court's decision in Kokesh v. SEC, 137 S. Ct. 1635 (2017). But

  that argument is doomed by the novel and erroneous premise on which it rests: that all injunctions

  are punitive. As the Eighth Circuit has now confirmed in SEC v. Coll, ard, 861 F.3d 760 (8th Cir.

  2017), nothing in Kokesh supports Defendant's contention, and properly-entered injunctions are

  not subject to Section 2462's time limits.

         Both before and after Kokesh, courts have been uniform in holding that injunctions are not

  punitive where there is a threat of future violations and public investors need protection. In this

  Circuit, courts considering Commission-sought injunctions unifoiinly assess specified evidentiary

  factors to predict the threat of future misconduct, including the defendant's scienter and

  acknowledgement of responsibility. Because that assessment cannot be done on the pleadings,

  Defendant's motion papers include not a single citation to any case in this or any other Circuit that

  has dismissed a Commission prayer for injunctive relief on the pleadings based on Section 2462.
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          Defendant's alternative argument that the "concurrent remedies" doctrine forecloses the

  Commission from seeking injunctive ielief is similarly unfounded. Controlling Thud Circuit

  authority rejects the application of the doctrine to cases where, as here, a party seeks equitable relief

  that procures a di€feYent remedy from the legal remedies that it might have pursued. Even where

  courts in other circuits have entertained tie doctrine to bar injunctive claims asserted by private

  parties, those courts have rejected its application to injunctive relief sought by the Government.

          Defendant's Motion to Dismiss the Coimnission's Amended Complaint on statute of

  limitations grounds should be denied.'

                                           RELEVANT FACTS

  A.      Defendant's Participation in the Two Stock Manipulation Schemes

                   1.     Guy Gentile

          Defendant Guy Gentile has been the principal of multiple securities-related businesses since

  prior to 2007. At the time of the conduct alleged in the Amended Complaint, Defendant owned a

  Commission-registered broker-dealer located in New York State. (Am. Compl. ¶ 14.) In 2011,

  De€endant founded aBahamas-based online brokerage firm, a firm he continues to operate and

  expand. (Id.)

                   2.     The RUNG Scheme

          In 2007, two penny stock promoters, Mike Taxon and Itamai Cohen, invited Defendant to

  participate in a scheme to manipulate the stock of Raven Gold Corporation ("RVNG")

  Defendant, along with Taxon and Cohen, engaged in a fraudulent stock promotion campaib,

  whereby they manipulated the maYket to create the false unpression of liquidity and active interest in




    "MTD at       " Lefeis to citations to Defendant's Memorandum of Law in Support of his Motion
  to Dismiss, dated October 27, 2017. (DE 50.)

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 RUNG stock, and then sold their shares into the inflated market in an unregistered and unlawful

  distribution. (Id. ¶¶ 25-49.)

          To create an attractive —but fake —price and volume history for investors researching the

  stock, and to disguise their connection to tie trading, in June and July 2007, Defendant traded

  RUNG stock between various brokerage accounts which were held in the names of biakerage firms

  where he, Taxon, and Cohen had or controlled accounts. (Id. ¶~ 2-5, 26-31.) The three amplified

  the false appearance of incYeased liquidity and market interest by offering acquaintances and

  promoters free blocks of RUNG as kick-backs for open market purchases of the stock. (Id. ¶ 31.)

          Defendant also drove up the price of RUNG stock through the creation and distribution of

  a false and misleading eight-page glossy "newsletter" touting RUNG stock (the "RUNG Mailer")

  that was distributed in midJuly 2007. The RUNG Mailer purported to have been published by

  "Stock Trend Report," a fictional entity created by Defendant and his collaborators to disguise their

  involvement, that falsely heralded the company's appearance in various respected news publications,

  as if it had been the subject of legitimate and independent reporting. In reality, the only appearance

  of the stock in publications had been in equally misleading paid advertisements prepared and placed

  by Defendant and TaYon and Cohen. (Id. ¶¶ 4, 32-35.)

          The RUNG Mailer also touted the stock's performance, citing its "remarkable uptrend so

  far," and attributing it to the company's stLong business prospects. But it failed to disclose that a

  substantial portion of the touted market activity consisted of the manipulative trades Defendant and

  Taxon and Cohen had executed to create an attractive price and volume history. The mailer also

  stated that there was "high market demand for RUNG by institutional investors," when no such

  demand existed. Defendant knew, or was reckless in not knowing, that all of these materially false

  and misleading statements were false. (Id. ¶¶ 4, 36-37.)


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         Defendant also worked with individuals who controlled RUNG to coordinate the tin~iiig and

  number of press releases issued by the company —thirteen in June and July 2007 —designed to

  support the fiction that RVNG's business prospects were stLang. (Id. ¶¶ 45-46.)

         As a result of these actions, Defendant successfully manipulated the market for RUNG

  stock. Prior to May 31, 2007, RUNG traded at prices not exceeding $0.80 per share and with

  ininiinal volume. Starting on May 31, 2007, the daily price and volume of trading went up

  dramatically, only to decline as soon as the fraudulent promotion was complete. (Id. ¶ 47.)

         Taxon and Cohen have pled guilty to parallel criinuzal charges arising out of their conduct in

  the RUNG scheme, and await sentencing. (Id. ¶¶ 73-74; see also United States v. Taxon, 15 Cr. 249

  (JLL) (D.N.J.) (DE 3); United States v. Cohen, 15 Ci. 248 (JLL) (D.N.J.) (DE 3).)

                  3.     The KYUS Scheme

         In the summer of 2007, Defendant was recruited to participate in a second fraudulent stock

  promotion campaign involving the stock of Kentucky USA Energy, Inc. ("KYUS") by two men

  who controlled KYUS, Adam S. Gottbetter, a New York microcap securities and transactional

  lawyer, and his business partner, Samuel DelPiesto.2 To perpetrate the scheme, Defendant, Taxon,

  Cohen, Gottbetter and DelPiesto bought the KYLJS shell company in October 2007, transferring

  75% of KYUS's purportedly uniestiicted stock to accounts in the names of four brokerage firms of

  Defendant, Taxon, and Cohen (the "nominee accounts"), and the ieinaining 25% to Gottbettei and

  DelPresto. By using nominee accounts, Defendant again sought to obscure his connection to the

  stock. (Am. Compl. ~¶ 53, 55, 57-59.)




  2 Notwithstanding promises in his Motion to Dismiss that Gottbettei will provide exculpatory
  evidence with respect to the KYUS scheme (NITD at 6), there is no allegation in the Amended
  Complaint that Gottbetter had any involvement in Defendant's RUNG scheme.
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          In l~ovember 2007, Defendant and Taxon and Cohen began "Uuilding the chart" for KYIJS

  stock, i.e., fabricating an attractive price and volume history for the stock. Among other things,

  Defendant executed trades between the nominee accounts and other accounts he controlled,

  including those in the names of his family members. He also convinced penny stock traders he

  knew to buy KYiJS stock in the open market. As a result, on many days between late 2007 and May

  2008, most, if not all o€the market activity in KYUS was generated by accounts controlled by

  Defendant and his collaborators, creating the false appearance of demand for KYUS stock and

  gradually inflating its price. (Id. ~(¶ 7, 60-63.)

          In or alaout May 2008, Defendant took the lead role in creating and distributing an eight-

  page promotional mailer touting KYUS (the "I~~C1S Maier"). The KY[JS Mailer was distributed

  undeY the fake name "Global Investor Watch," and falsely represented that it had been funded by a

  fictional entity. In fact, Defendant funded the KYLTS Mailer with proceeds from selling his and

  Taxon and Cohen's allotments of KYUS stock. It also pointed to KYUS's seemingly attractive

  recent stock price history, but did not disclose that it was Defendant's and his collaborators'

  manipulative trading that produced the positive stock price movement. (Id. ¶¶ 64-65.)

          The manipulation and fraudulent promotion of KYUS stock were successful, as the stock

  price rase anc~ the volume increased after the KYUS Mailer was disseminated. By the end of May

  20Q8, Defendant had sold inil~ions of KYUS shares and, with his assistance, GottbetteY and

  DelPresto continued selling theiY K~'LTS stock through November 2010. (Id. ~~ 66-68.)

          As p~xt of the parallel crunival actions against them, Taxon and Cohen both pled guilty to

  their roes in the KYiJS schemes. (Id. ~~ 73-74.) Gottbetter settled the Coininission's charges

  against him arising fYam his KYUS scheme participation (among other misconduct) in SEC v.

  Gottbetter, et al., 15 Civ. 3528 QLL) (D.N.J.), consenting, without admitting o~ denying the SEC's
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  allegations, to the entry of a judgment that permanently enjoined him from future violations of

  specified federal securities laws, imposed a penny stock bar, and ordered him to pay disgorgement of

  more than $4 million in unlawful gains. (Am. Compl. ¶ 77.)3 DelPresto, charged cruninally for his

  role in different pump-and-dump schemes in United States v. DelPresto, 15 Cr. 631 (JLL) (D.N.J.),

  has entered a plea agreement covering his conduct in the KYUS scheme. (Id. ¶ 78.)

  B.     The Parallel Criminal Action Against Defendant

         The FBI arrested Defendant for his part in the RVNG and KYUS schemes on July 13, 2012.

  Defendant admitted his involvement and agreed to cooperate with the United States Attorney's

  Office for the District of New Jersey ("USAO") and the Commission in connection with

  investigations of other fraudulent penny stock schemes. (Am. Compl. ¶ 71; see also United States v.

  Gentile, 16 Cr. 155 (JLL) (D.N.J.) (the "Parallel Criminal Action") (DE 19) (Memorandum of Law

  in Opposition to Defendant Guy Gentile's Motion to Dismiss the Indictment, at 5}.) On March 23,

  2016, with Defendant unable to persuade the USAO to drop criminal charges against him, and his

  cooperation at an end, the Grand Jury retained an indictment charging Defendant with various

  crvninal securities law violations arising out of the manipulations of RUNG and KYLTS. On January

  30, 2017, this Court granted Defendant's motion to dismiss the indictment on statute of limitations

  grounds. (Am. Compl. ¶ 72.)




   Gottbetter also pled guilty to cxuninal charges arising out of his participation in two other pump-
  and-dump schemes, was sentenced to a prison teiin of 18 months, one year of supervised release, a
  $60,000 fine, and ordered to forfeit $344,966.55. (Am. Coinpl. ¶ 76; see also United States v.
  Gottbetter, 14 Cr. 467 (JLL) (DN.J.).)
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  C.     Since His Work as an FBI Cooperator Ended, Defendant Has Publicly Denied Any
         Wrongdoing, Called Himself a Victim of Government Overreach, and Announced
         Plans to Expand His Securities Industry Involvement

         Following the dismissal of the Parallel Cri~nuial Action, and with FBI oversight at an end,

  Defendant has made several public pronouncements disclaiming any culpability for his participation

  in eithei of the RVNG or KYUS schemes. For example, in an interview with

  BloombergBusinessweek about the circumstances that led to Defendant's- arrest in 2012, Defendant

  clauned he "did nothing wrong." Defendant has also declared on social media platforms that he

  "never scammed anyone!" (Am. Compt. ¶ 80.)

         Defendant has also boasted of his plans to expand his broker-dealer, announcing plans to

  increase staff by 60 to 80 employees by year-end 2017, targeting 30 pei cent growth, and reactivating

  "stalled" expansion plans. In February 2017, Gentile was quoted as pYedicting that his firm "will be

  the largest broker dealer in [the Bahamas] within s~ months." (Id. ¶¶ 14, 82.)

         Defendant has also demonstrated contempt for the regulatory and enforcement authority of

  the Commission, and called himself the victim of a Commission "witch hunt." (Id. ¶ 80.) After

  Coininission counsel submitted its April 26, 2017 letter to the Couit (DE 18) confirming the

  Commission's intention to pursue its claims against Defendant, Defendant sent an email to

  Commission counsel, copying his own attorney as well as members of the press, threatening to

  render her unable to continue her employment as a lawyer. (Id. ¶ 83.)

  D.     Procedural History of the Instant Action

         The Commission brought this action on March 23, 2016, the same day as the Parallel

  Cruninal Action was filed. (DE 1.) Defendant moved to dismiss the Complaint (D~ 34), and the

  Couit directed the Commission to file an amended complaint. (DE 46 at ¶ 10.) The Commission

  filed an Amended Complaint on October 6, 2017, charging Defendant with violations of Sections 5,
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  17(a), and 17(b) of the Securities Act of 19'33 ("Securities Act") and Section 10(b) of the Securities

 Exchange Act of 1934 ("EYchange Act"), and Rule 10b-5 thereunder. The Amended Complaint

  seeks an injunction, pursuant to Securities Act Section 20(b) and Exchange Act Section 21(d),

  against Defendant's furthei violations of the charged provisions, and a penny stock Uar pursuant to

  Securities Act Section 20(g) and Exchange Act Section 21(d)(6)(A). (Am. Compl. ¶¶ 8-10.)4

  Defendant renewed his motion to dismiss. (DE 50.)

                                              ARGUMENT

          Movants seeking clismissal of a complaint for failure to state a claun under Fed. R. Civ. P.

  12(b)(6) bear a heavy burden. "["I']o survive a motion to dismiss, a complaint merely has to state a

  `plausible claim for relief"' Covington v. Int'1 Assn of Approved Basketball Officials, 710 F.3d 114,

  118 (3d CiY. 2013) (quoting Ashcroft v. Iabal, 556 U.S. 662, 679 (2009)). "Even post-[Bell Atl. Corp.

  v. Twomblv, 550 U.S. 544 (2007)], it has been noted that a plaintiff is not required to establish the

  elements of a pruna facie case but instead, need only put forth allegations that `raise a reasonable

  expectation that discovery will reveal evidence of the necessary element."' Fowler v. UPMC

  Shadvside, 578 F.3d 203, 213 (3d CiY. 2009) (citation omitted).

 I.       THE AMENDED COMPLAINT ADEQUATELY STATES A CLAIM FOR
          RELIEF AGAINST DEFENDANT

          Defendant's Motion to Dismiss is directed not to the sufficiency of the allegations in the

  Amended Complaint to state a claim of securities fraud, but to whether the injunctive relief sought is

  time-barred by 28 U.S.C. ~ 2462. However, since properly entered injunctions are not "penalties"

  within the meaning of Section 2462, they are not subject to its five year statute of limitations. This is



  a The Commission also seeks the Court's entry of whatever additional relief it deems appropriate and
  just (Ain. Compl., Prayer for Relief (III)), and pursuant to Section 21(d)(5) of the Exchange Act, the
  Court is statutorily empowered to provide "any equitable relief that may be appropriate or necessary
  for the benefit of investors." (See Am. Compl. ¶ 10; 15 U.S.C. ~1 78u(d)(5).)
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  apparent from the plain language o€Section 2462, fiom Congress's recognition in the securities laws

  that injunctions and civil penalties are disciete and independent remedies, and from numerous

  decisions holding that Section 2462 does not limit a court's authority to issue an injunction to

  protect the investing public.

         Defendant seeks to derive a contrary rule from Kokesh, which held that disgorgement is a

  penalty for the purposes of Section 2462. But as the Eighth Circuit explained in Collyaxd, 861 F.3d

  at 764, a properly imposed injunction is designed to protect the public, not to punish, and thus is

  not a "penalty" within the meaning of Section 2462 under Kokesh. Defendant's remaining

  arguments about the Commission's entitlement to injunctive relief in this case provide no basis for

  dismissing the Coininission's rec}uest for injunctions at the pleading stage.

  A.      The Amended Complaint Sufficiently Alleges Facts That, If Proved, Would Entitle
          the Commission to Injunctive Relief

         Under controlling ThiYd Circuit precedent, to determine whether an injunction is

  appropriate to protect against future harm to investors, the Court must analyze five factual factors:

         [T]he degree of scienter involved on the part of the defendant, the isolated or
         recurrent nature of the infraction, the defendant's recognition of the wrongful nature
         of his conduct, the sincerity of his assurances against future violations, and the
         likelihood, because of defendant's professional occupation, that future violations
         might occur.

  SEC v. Bonastia, 614 F.2d 908, 912 (3d Cir. 1980). No one factor is determinative. Id. at 913.5

         Because the Amended Complaint contains numerous plausible allegations of facts

  supporting each of the relevant factors that, if established, support a remedial injunction in this case,

  Defendant's Motion to Dismiss should be denied.



   Bonastia is the control}ing framework for assessing whether to unpose injunctions in Commission
  cases in this Circuit. Defendant wrongly contends that the Commission must allege "unminent
  injury," (MTD at 20), a factor that appears nowhere in Bonastia, nor any of the securities cases in
  this District.
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         The degree of scienter involved on the part of the defendant. The Complaint alleges

 that Gentile placed manipulative trades between accounts he controlled (or had otheis place such

  trades) to create a false appearance of liquidity, market depth and demand for both RUNG and

 KYUS. (Am. Compl. ¶¶ 3, 5, 7, 30-31, 61-63.) It fiuther alleges that he held the shares in offshore

  accounts and/or in accounts tided in the names of nominee Urokerage firms, to disguise his

 connection to the trading. (Id. ~¶ 28, 59.)` The Complaint also alleges that Gentile authored and

 published under fake names fraudulent glossy mailers touting each stock's rosy prospects (id. ¶¶ 32-

  42, 64-65), and, in the case of RUNG, placed paid advertisements contauung the same false claims

  as the mailer in multiple major publications. (Id. ¶¶ 43-44.)

         The isolated or recurrent nature of the infraction. The Complaint alleges two separate

 manipulative schemes, extending from 2007, when Defendant first joined the RUNG pump and

  dump scheme, thiough the 2010 sales of KYLJS stock by Gentile's confederate, Gottbetter. (Id.

  ¶¶ 25, 68.) Courts have held that even single schemes, perpetrated over shorter periods of time,

  satisfy the "recurrent" factor. E.~, Desai, 145 F. Supp. 3d at 332, 337 (deception of only five

 investors "between June 2009 and May 2010" in a single scheme); SEC v. Alexander, 115 F. Supp.

  3d 1071, 1086 (N.D. Cal. 2015) (single scheme that spanned less than two yeais and impacted

  dozens of investors was recurrent, not isolated, conduct).. Even where the defendant participated in

  only one unregistered offering, involving only 19 sales over a seven month period, a court has




 `' Similar evidence of concealment of defendant's fraud while it is ongoing has been held to be
 sufficient evidence of scienter to establish this factor of the injunction analysis. Ems. ., SEC v. Desai,
 145 F. Supp. 3d 329, 337 (DN.J. 2015), affd, 672 F. App'x 201 (3d Cir. 2016), cent. denied Desai v.
 SEC, 137 S. Ct. 2229 (2017) (entering injunction against defendant who had attempted to conceal
 wrongdoing from investors, and holding that his "effort to mask his violations of federal securities
 law demonstrates a high degree of sciente~").

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  deemed that the conduct was "not isolated" and "inc~icate[d] a likelihood of future violations." SEC

  v. Verdiramo, 890 F. Supp. 2d 257, 275 (S.D.N.Y. 2011).

          The defendant's recognition of the wrongful nature of his conduct and the sincerity

  of his assurances against future violations. The Complaint alleges that Defendant, far from

 recognizing the wrongful nature of his conduct, has publicly denied wrongdoing in connection with

  the allegations asserted in the Amended Complaint by, for example, telling a

 BloombergBusinessweek reporter that he "did nothing wrong," by labeling the Commission action a

  "witch hunt," and by declaring on Instagram "I never scammed anyone!" (Ain. Compl. ¶ 80.)' The

  Complaint also alleges that Defendant has not made any assurances that he will not violate the law.

  (Id. ¶ 81

          The likelihood, because of defendant's professional occupation, that future violations

 might occur. The Defendant has been employed in the securities industry since prior to his

 misconduct alleged in this Complaint. (Id. ¶ 14.) He founded a US-based and Coininission-

 registered broker-dealer, to which he maintains an affiliation. (Id.) Today, he is the principal of a

 Bahamas-Uased online brokerage firm, opened in 2011. (Id.) His recent public statements indicate

  that with the dismissal of the Parallel Cruninal Action, he intends to redouble his efforts to increase

 his presence in the industry, including by expanding his broker-dealer and attempting to become the

 laLgest such entity in the Bahamas. (Id. ¶¶ 14, 82.)


   This is in stark contradiction to Defendant's apparent admissions of guilt to the USAO when he
 was a~iested in 2012 and agreed to cooperate (United States v. Gentile, 16 Cr. 155 (JLL) (D.N.J.)
 (D~ 18) (USAO Memorandum of Law in Opposition to Defendant Guy Gentile's Motion to
 Dismiss the Indictment, Sept. 23, 2016), at 5), and indicates that whatever recognition of
 wrongdoing Defendant once professed, he has reversed course. Courts view such shifting positions
 on the facts as meriting an injunction. Ems., SEC v. Gunn, No. 08 Civ. 1013, 2010 WL 3359465, at
 *6 (N.D. Tex. Aug. 25, 2010) ("if a defendant is dishonest, exhibits a lack of candor, or offers
 inconsistent testunony during the course of the action, an injunction is more likely to be warranted")
 (citing SEC v. Holschuh, 694 F.2d 130, 145 (7th Cir. 1982)).

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          Courts have not ~iesitated to enter in}unctive relief against securities professionals like

  Gentile, finding that defendants' current occupation in the industry makes future misconduct more

  likely. SEC v. Gann, 565 F.3d 932, 940 (5th Cir. 2009) (defendant who had violated the securities

  laws in trading mutual funds merited an injunction because his continued employment as a stock

  broker will provide him with "o~poYtunities fox future infractions," regardless of his voluntary

                                                     Coxp., No. 11 Civ. 0116, 2015 WL
  cessation of mutual fund trading); SEC v. Radius Capital

  1781567, at *2 (M.D. Fla. Apr. 20, 2015) (defendant's continued employment in real estate industry

  made his future violations in fraudulent offering of mortgage-backed securities more likely); SEC v.

  Savino, No. 01 Civ. 2438 (GBD), 2006 WL 375074, at *17 (S.D.N.Y. Feb. 16, 2006) (because the

  "business of trading in securities is one in which opportunities for dishonesty are of constant

  recurrence and ever present," defendant's occupation as a licensed securities professional put him in

  a position to engage in further fraudulent conduct and warranted the imposition of a permanent

  injunction) (quotations omitted), affd in relevant dart, 208 F. App'x 18 (2d Cir. 2006); SEC v. U.S.

  Environmental, Inc., No. 94 Civ. 6608 (PKL), 2003 WL 21697891, at *25 (S.D.N.Y. July 21, 2003)

  (defendants' continued employment in securities industry contributed to the need for an injunction,

  given their opportunities to commit further violations), affd, 114 F. App'x 426 (2d Cir. 2004). In a

  more Yece~t case from this district, the court found that the defendant's prior role as a corporate

  executive —even though he was not currently so employed —provided him with sufficient

  opportunity to retain to the business world and repeat his insider trading and therefore warranted an

  injunction. SEC v. Clad Capital Mgmt., LLC, No. 11 Civ. 5020 (DMC) (JBC), 2013 WL 5946989, at

  *5 (D.N.J. Nov. 6, 2013).A




  x In assessing this factor, courts are often persuaded that the youth of the defendant adds to the
  need for an injunction. E.g_, SAC v. ~ohnson, 652 F. Sapp. 2d 29, 32 (D.D.C. 2009) (imposing
                                                      12
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          Some courts add a factor to those dictated by Bonastia —the passage of time since the

  infraction wit~iout further violations — a factor which Defendant highlights in his subxn~ssion.

  (MTD at 21-22.} But, as the Fifth Circuit held most recently, "cessation of the violations does not

  preclude a finding of reasonable likelihood of future violations, as it does not establish a lack of

  opportunities. for future violations." SEC v. Life Partners Holdings, Inc., 854 F.3d 765, ?84 (5th Cir.

  201?); accord SEC v. Fehn, 97 F.3d 1276, 1295 (9th Cit. 1996) ("the fact that the defendant is

  currently complying with the securities laws does not preclude an injunction") (quotation omitted;

  SEC v. Shapiro, 494 F.2d 1301, 1308 (2d Cir. 1974) ("`first offenders' are not immune from

  injunctive Yelief'). Indeed, courts have held that in}unctions are appropriate to prevexrt future

  misconduct even as to defendants who have committed no violations in the interun, particularly

  because, as Bonastia makes clear, 614 F.2d at 913, courts look to the totality of the circumstances

  with no ane factor being determinative. Ems., SEC v. aminin lava Cori., No. 15 Civ. 8921, 2017

  WL 4286180, at *1 (C.D. Cal. Sept. 14, 2017) (imposing injunction even though violation was

  defendant's first because other factors indicated that future violations are likely); SEC v. BIH CoYp.,

  No. 10 Civ. 0577, 2014 WL 7499053, at *3 (M.D. Fla. Dec. 12, 2014) (facts that six years had elapsed

  since defendant's violations without further misconduct and that he assured t12at he would not

  corrmiit further violations were outweighed by the nature of his misconduct and refusal "to fully

  recognize [its] wrongness"); Verdiramo, 890 F. Supp. 2d at 275-76 (rejecting defendants' claim that

  an injunction was unnecessary because the violations occurred years prior with no misconduct in the

  interim, and imposing injunctions in light of defendants' failures to acknowledge wrongdoing, the

  high bevel of their scienteY, and employment in areas that gave opportunities to commit future



  injunction, court reasons that since defendant would be only 55-56 years odd when released from
  prison, "it is certainly possible for him to be involved in other business ventures").

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  violations); SEC v. Northeastern Fin. Com., 268 F. Supp. 412, 416 (D.N.~. 1967) (notwithstanding

  defendant's claim that he was no longer engaged in violative conduct, an injunction was necessary to

  prevent further violations given his level of participation in the scheme and desire to return to the

  securities industry).

          And, given that Defendant contends that he was subjected to 24/7 scrutiny by the rBI since

  his arrest (Am. Compl. ~ 84), this factor has little significance to a prediction of likely recurrence

  here. Defendant's "cleafl xecorc~" in the interim is as likely owing to his claimed perception of FBI

  supervision as anything else. As the Second Circuit noted in Tory, on which Defendant Yeltes (MTD

  at 21), "it is no sufficient answer to a motion for a~ injunction that the improper conduct repeated

  in the past has been discontinued when action to impose legal restraint is known or thought to be in

  the offing, ...for the likelihood of a resumption of the acts is a continuing menace." Torr, 87 F.2d

  at 449-50 (citations omitted}.




  ~ The cases on which Defendant relies are inapposite. (MTD at 21-22.) In none was the defendant's
  clean record the sole basis for denying injunctive relief. Rather, in each, other factors supported the
  courts' conclusion that the Commission had not established that future misconduct was likely. S~
  ems., SEC v. Toxr, 87 F.2d 446, 450 (2d CiY. 1937} (reversing grant of pYeluninary injunction where
  Commission had famed to establish that past conduct had been violative, let alone that future
  misconduct was likely to occur); SEC v. Tourxe, 4 F. Supp. 3d 579, 598 (S.D.N.Y. 2014) (no
  evidence that defendant continued in the industry or had any intention of returning; court
  nonetheless retained jurisdiction to constdeY renewed request fox injunction if he did return to the
  industry); In xe Reserve Fund Secs. and Deriv. Ling., 09 Civ. 4346 (PGG), 2013 WL 5432334; at *23
  (S.D.I~.Y. Sept. 30, 2013} (finding that defendants were "de€unct entities" not reasonably likely to
  coi~zinit future violations); SEC v. DiBella, No. 04 Civ. 1342, 2008 WL 6965807, at *13 (D. Cann.
  Mar. 13, 2008) (defendant was not regularly employed in the securities industry and conduct
  occurred in a single scheme in a Yelatively short period of time), affd, 587 F.3d 553 (2d Cir. 2009).
  In one of the cases Defendant offers, SEC v. Monarch, 608 F. 2d 938, 943 (2d Cir. 1979) (MTD at
  21), the court had a~eady deteYmined that the defendant had committed no violations at all, so its
  dicta on the propriety of injunctive relief had little to do with tl7e defendant's compliance since he
  was charged.

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  B.     The Statute of Limitations Defense Cannot Be Resolved on Defendant's Motion to
         Dismiss

         The Court cannot grant Defendant's motion to dismiss on statute o€limitations grounds

  because, in oxdeY to do so, the Court would need to make a factual finding that the injunction

  sought is not remedial — i.e., that there is no risk of future harm against which it would protect —and

  therefoYe that theYe is no need for an injunction.

          At the motion to dismiss stage, analysis of the Bonastia factors is premature. SAC v. Gabelli,

  653 F.3d 49, 61 (2c~ Cir. 2011), Yev'd on other grounds, 568 U.S. 442 (2013} (holding that it would be

  "most unusual" to dismiss a prayer for injunctive relief as time-barred on a motion to dismiss, given

  that the detern~uiation of the "likelihood of future violations is almost always afact-specific

  inquiry"}; S~C~. Wvly, 950 F. Supp. 2d 547, 558 (S.D.N.Y. 2013) (rejecting statute of ]irrtitations

  claim on summary judgment as prematuYe, iuling "the statute of limitations question merges with

  the substantive requirements for obtaining an injunction under the securities laws — if the

  substantive claim is viable, then it is, by defuut~on, not subject to a statute of limitations"); SEC v.

  Straub, No. 11 Civ. 9645 (RJS), 2016 WL 5793398, at *14-15 (S.D.N.Y. Sept. 30, 2Q16) (same).10



  to Accord~.SEC Wev, 246 F. Supp. 3d 894, 935 (S.D.N.Y. 2017) (refusing to dismiss claim for
  injunctive relief and noting defendant's failure to cite any authority for dismissing injunctive relief
  claim at motion to dismiss stage); SEC v. Saltsman, No. 07 Civ. 437Q (NGG), 2016 WL 4136829, at
  *29 & n.19 (E.D.N.Y. Aug. 2, 2016) (holding that Coininission's allegation of xecuYrence is sufficient
  to withstand motion to dismiss injunctive relief on statute of limitations grounds}; SEC v. Landbex~,
  836 F. Supp. 2d 148, 158 (S.D.N.Y. 2011) (where complaint "sufficiently pled a reasonable
  likelihood o£ recurrence" by alleging repeated and knowing violative conduct, morion to dismiss
  injunctive refief claim would be denied; SEC v. Fisher, 07 Civ. 4483, 2008 WL 2062699, at *8 (I~T.D.
  Ill. May 13, 20Q8) (ruling defendant's. motion to dismiss clauns for injunction and officer and
  director bar on ~ 2462 grounds premature without benefit of full evidentiary record; SEC v. Power,
  525 F. Supp. 2d 415, 427 (S.D.I~.Y. 2007) (denying motion to dismiss. where Commission alleged
  likelihood of recurrence by alYeging repeated multiple violations over a period of several years and
  that, unless enjoined, defendant would continue such conduct); c£ SEC v. Geswein, 10 Civ. 1235,
  2011 WL 4565861, at *2 (N.D. Ohio Sept. 29, 2011) (denying motion to dismiss injunction claim,
  holding that "Section 2462 does not apply").

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         Defendant cites no authority fox dismissal of a claim fox injunctive relief at tk~is stage of the

 proceedings. Instead, he points to cases decided on full evidentiary records — on motions foY

  suinxnary judgment or disposition, or after an evidentiary hearing —that concluded that insufficient

  evidence of future harm had been establis~ied. See SEC v. Bartek, 484 F. App'x 949, 957 (5th Cir.

  2Q12J (MTD at 12) (affirming grant of summary judgment where there was no evidence that

 injunction addressed "the prevention of future haxrrl in light of the ininit~al likelihood of similar

  conduct in the future"}; Johnson v. SEC, 87 F.3d 484, 489 (D.C. Cir. 1996) (MTD at 12, 15)

  (following admitZistrative evidentiary hearing, xeveYsing cease-and-desist order on grounds that

  Coininission failed to assess risk of harm to investing public; Proffitt v. FDIC, 200 F.3d 855, 859,

  861-62 (D.C. Cir. 2000} (MTD at 15) (holding that adiiiiiustrative bar order under banking

  regulations, entered on summary disposition, was barred by Section 2462 because FDIC focused

  solely on petitioner's past conduct and had not analyzed petitioner's current risk to the public)."

         None of these cases supports Defendant's proposition that an injunction is categorically

  punitive. See Collard, 861 F.3d at 764 (reading cases like Bartek as examples of decisions that

  "conduct fact-intensive analyses to determine whether a particular injunction goes beyond

  remedying past injuries or preventing present dangers"); SEC v Quinlan, 373 F. App'x 581, 587 (6th

  Cit. 2010) (similar). In other cases these same circuits have concluded that orders like the injunctive

  relief against futuYe violations requested here axe "purely remedial and preventative" and "not a

  `penalty.'... They simply required] - [the defendant] not to violate the relevant securities laws in the

  future." RioYdan v. SEC, 627 F.3d 1230, 1234-35 (D.C. Cix. 2010) (holding that Section 2462 was



  11 Defendant also cites De La Fuente II v. FDIC, 332 F.3d 1208, 1219 (9th CiY. 2003) (MTD at 15).
  That decision involved the review of an adinuiistrative order that banned the respondent from the
  banking industry after a full evidentiary hearing and not on a motion to dismiss. And while it
  apparently accepted, without analysis, the conclusion in Proffitt, id. at 1219, it also remanded the
  matter foi adini~iistrative determination of appropriate sancrions.
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  inapplicable to cease-and-desist oYdex~; see also Meadows v. SEC, 119 F.3d 1219, 1228 & n.20 (5th

  Cir. 1997) (ca~cluding that cease-anct-desist order was not punitive); c£ SEC v. I~id, 991 F.2d 1491-

  93 (9th Cir. 1993) (Section 2462 does not apply to SEC injunctive actions).

  C.      Defendant's Motion to Dismiss Should Be Denied Because the Commission Seeks
          Remedial, Not Punitive, Relief

          Section 2462's limitations period does not apply to the injunctive relief tie Commission

  seeks here. Indeed, the text of 28 U.S.C. ~ 2462 makes no reference to injunctions at all.

  I€Congress had intended Section 2462 to apply to rec}uests for injunctions, it would have

  included that additional term in the statute's text.

          To the contrary, the history of the securities laws confirms that Congress has always

  understood that properly entered injunctions are not penalties within the meaning of Section 2462.

  ~X/hen it fiYst authorized the Coininission to obtain civil money penalties in 19$4, Congress noted

  that the pYincipal remedy available to the Caininission until then was "an injunction against furtheY

  violations of the securities laws," which serves "only a remedial function and does not penalize a

  defendant for the illegal conduct." H.R. Rep. 98-355 at *7-*8, xe~rinted in 1984 U.S.C.C.A.N. 2274,

  2280-81; accord H.R. Rep. 100-910 at *11, Yenr~ 1988 U.S.C.C.A.N. 6043, 6048.

          Kokesh's holding that disgorgement is subject to Section 2462 even though the statute does

  not mention that remedy does not require a different analysis. In holding that Section 2462 applies

  to disgorgement,. the Court in Kokesh noted that this remedy was not explicitly set forth in the

  federal securities laws. and was developed by courts. See Kokesh, 137 S. Ct. at 1640. In contrast,

  Congress has indisputably authorized the Coininission to seek injunctive re}ief since its

  establis~iment, and Congress's decision not to "impos[e] an explicit time limit on Commission

  enforcement actions" (white subjecting private litigants to multiple statutes of limitations) trierefore

  "mus.t be tntexpieted as deliberate" with respect to injunctions. Rind, 991 F.2d at 1490.

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          Nox can the word "penalty" in Section 2462 be read to include appropriate injunctive relief.

  As the Third Circuit long ago explained, "[t]he purpose of injunctive relief is not to punish the

  violator, but to deter him from committing future infractions of the securities laws." Bonastia, 614

  F.2d at 912. In fact, because an injunction by definition cannot be used to punish, it does not make

  seise (particularly at the pleading stage} to ask whet~ier a request for an injunction is a penalty

  subject to Section 2462. A court has no authority to impose a "punitive injunction" regardless of

  whether it is sought five years, five days, or five minutes after a violation, not because of anything in

  Section 2462, but because equity does not allow it.

          The analysis courts must use before imposing an injunction confirms this long-held

  understanding. In that determination, courts "makes a prediction of the likelihood of future

  violations based on an assessment of the totality of the circumstances suYrounding the particulaY

  defendant and the past violations that were coininitted." Bonastia, 614 F.2d at 912. Accord SEC v.

  Coo er, 142 F. Supp. 3d 302, 319 (D.N.J. 2015) (applying Bonastia factors to determine that there

  was a reasonable likelihood that defendant will violate the securities laws in the future, warranting

  injunctive reliefl. If the Court enters an injunction, it has necessarily predicted the likelihood of

  future violations and the need to protect the investing public from future harm.

          Fox that very reason, the only post-Kol~esh decision to have addressed Section 2462's

  applicability to injunctions rejected Defendant's position. In CollyaYd, the Eighth Circuit held that

  an ixr}unction, based on "evidence of a likelihood to violate" the law, and sought to protect the

  public "prospectively from [defendant's] harmful conduct," was remedial and not subject to Section

  2462. Co ard, 861 F.3d at 764.12 In so ruling, the court disagreed with Defendant's argument



  12 Collard follows a long line of pre-Kokesh authority that held Section 2462 inapplicable to
  Coinuzission-sought injunctive relic£ E.g_, SEC v. Graham, 823 F.3d 1357, 1362 (11th Cir. 2016)
  (concluding that although disgorgex~ent is subject to Section 2462, inyunctions axe not, because
                                                   18
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  (MTD at 12-13) that an injunction is always punitive because of its deterrent effect. Indeed, the

  Supreme Court's equitable jurisprudence has long held that "the classic description of injunctive

  relief'is that "[t]he historic injunctive process was designed to deter, not to punish." Id. (internal

  quotation marks omitted}. Kokesh did not purport to upset this understanding.

          Moreover, the deterrent impact of disgorgement and injunctions differ in key respects:

          [The injunction] is not imposed "fox the purpose of punishment" or to "deter others
          from offending in like manner." ... [I']Yue, the injunction will likely deter
          [De€endant]. But the deterrent purpose of SEC disgoYgement differs from the
          deterrent e€fect of this injunction. First, "[t]he primary purpose of disgorgement
          oxdeYs is to deter violations of the securities laws." ... By contrast, deterrence is an
          "incidental effect" of this injunction, not its primary purpose.... Second, SAC
          disgorgement helps to generally "deter others from offending in like manner." See
          [Kokesh}, 137 S. Ct. at 1638 (emphasis adc~ed~. By contrast, this injunction — non-
          pecuniary and requiring only obedience with the law —likely does little tQ deter
          people other than [defendant].

  Collya~d, 861 F.3d at 764-65. (citations omitted. Accord SEC v. Mapp, No. 16 Civ. 0246, 2017 WL

  5177960, at *5 8~ n.3 (E.D. Tex. Nov. 8, 2017) (in denying defendant's motion for summary

  judgment urging that the injunction sought was barred by Section 2462, court points to the wealth

  of precedent holding in}unctions not subject to Section 2462 and to defendant's failure to present

  evidence of the "low likelihood that [he] would engage in similar harmful behavior in the future").13




  "in}unctions are equYtable, forward-looking remedies and not penalties within the meaning of
  ~ 2462"); uinlan, 373 F. App'x at 587-88 (based on findings of risk to investing pubic from risk of
  recurrence of wrongful conduct, injunction was remedial, rather than punitive);. Wev, 246 F. Supp.
  3d at 935 (Section 2462 does not apply to injunctions sought to "protect the public fYoxn future
  harm") (quotations omitted; Straub, 2016 WL 5793398, at *14 ("if the SEC is entitled to injunctive
  relief here, that relief would not be covered by Section 2462"); Saltsman, 2016 WL 413G~29, at *29
  (because in}unctions are "forward looking," they aye not penalties subject to Section 2462).

  13 Defendant's reliance on Saac~ v. SEC, 873 F.3d 297 (D.C. Cir. 2017) (MTD at 11) is misplaced
  since that case merely remanded tl~e question of "the Yelevance — if any — of the Supreme Court's
  recent decision in" Kokesh to that respondent's claim that his lifetime FINRA bar was
  impermissibly pur~.i~ive. Id. at 304. Indeed, Judge Mi~ett, writing separately to concur dubitante,
  rejected defendants' claim that only sanctions that compensate victims or return the parties to the
                                                     19
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          That an injunction .may have some consequence to Defendant and his xeputatio~ does not

  Yendex the relief punitive, as Defendant insists. (MTD at 13-14.) Whether a sanction is punitive is

  an objective test, "not measured from the subjective perspective of the accused (which would render

  viYtua~ly every sanction a penalty)." ohnsan, 87 F.3d at 488. The touchstone of in}unctive relief is

  the need to protect public investors from future violations. Thus, while Defendant might find the

  sanctions sought here —injunction and penny stock bar — "disagreeable ... as the Supreme Court

  has pointed out, `even remedial sanctions carry the sting of punishment"' from the perspective of

  the enroined paYry. Id. (quoting United States v. Hal~ex, 490 U.S. 435, 447 n.7 (1989). So long as

  the "primary purpose" of the injunction is not to penalise, but to protect against future harm as it is

  here, it is not punitive, regardless of the defendant's perception of its punitive effect. W~~1X, 950 F.

  Supp. 2ci at 558. Nothing in SEC v. Warren, 583 F.2d 115, 121 (3d Cir. 1978) (MTD at 13} —which

  held that the district court acted within its discretion in vacating a properly entered 10 year odd

  injunctton — is to the contrary. The Warren injunction was vacated based in part on a change in

  circumstances in the intervening ten years and on the district court's factual finding that theYe was

  "very little likelihood" of futuYe violations. Id. (noting that defendant had committed "a single

  isolated offense in an esoteric area of the law," the violation "`came more from inadvertence than

  studied intent,"' and that defendant "voluntarily" "xepa~id]" amounts in issue). In fact, far from

  determining that Coininission-sought injunctions are "punitive," (MTD at 13), the Third Circuit

  actually confirmed their uti~ty in effecting compliance with the securities laws: "[W]e ...express

  auY awareness of the importance of injunctions in enforcing the Act, and, in consequence, they are

  not to be lightly vacated." Id. at 122.




  status c~uo ante are exerx~pt from Section 2462 under Kokesh, as Defendant argues here (MTD at
  12). Saad, 873 F.3d at 311-12.
                                                    20
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  D.     A Penny Stock Bar, Properly Entered, Is Also Remedial Because It Seeks to
         Protect the Investing Public, and the Amended Complaint Alleges Facts Sufficient to
         Warrant Entry of a Bar

         Defendant addresses the in}unctive relief the Commission seeks in the same breath as the

  penny stocl~ bar, calling both punitive. But, like injunctions, properly imposed penny stock bars are

  intended to protect the investing public from future harm, and are therefore remedial, not punitive.

  E.g,., SEC v. _ ohnson, No. 02 Civ. 5490 (GEB~, 2004 WL 5561799, at *4 (D.N.1. Aug. 27, 2004} ("In

  order to protect the investing public from future fraud on the part of Johnson, this Court will

  pexmanendy prohibit Johnson from offering penny stock."), affld in relevant dart, 174 F. App'x 111

  (3d Cir. 2006). Congress highlighted that remedial purpose in enacting the penny stock bar,

  identifying the need to "protect investors from unscrupulous pYactices in the penny stock market,"

  H.I. Rep. 10.1-617, xe~rinted in 1990 U.S.C.C.A.N. 1408, 1428 — an area Congress. recognized as rife

  with "fraud and manipulation of investors." Id. at 1409. Thus, Section 20(g)(1) of the Securities Act

  and Section 21(d)(6)(A) of the Exchange Act now provide:

         In any pYoceeding ...against any person participating in, ox, at the time of the
         alleged misconduct who was participating in, an offering of penny stock, the court
         map pYoliibit that person from participating in an offering of penny stock,
         conditionally ox unconditionally, and peYmanently or for such period of time as the
         court shah determine.

  15 U.S.C. ~ 77t(g)(1), 15 U.S.C. ~ 78u(d)(67(A}.14




  14 Congress first provided for the remedy of a penny stock bar as part of the Penny Stock Reform
  Act of 1990, authorizing the Commission to impose that relief in its administrative proceedings. See
  Exchange Act Section 75(b)(6)(A}, 15 U.S.C. ~ 78o(b}(6){A). In 20Q2, as part of the SaYbanes-Oxley
  Act, Congress expanded the Commission's authority to explicitly permit the Commission to seek the
  relief in district court proceedings. See S. Rep. 107-205, at 41 (2002). The authority to seek penny
  stock bars in district court proceedings is codified at Securities Act Section 20(g), 15 U.S.C. ~ 77t(g)
  and Exchange Act Section 21(d)(6), 15 U.S.C. ~ 78u(d)(6). The Amended Complaint alleges that
  bot~i RUNG and I~YLJS were "penny stocks," as defined in Section 3(a)(51) of the Exchange Act,
  15 U.S.C. ~ 78c(a)(51), and Rule 3a51-1 thereunder, 17 C.F.R. ~ 240.3a51-1. (Am. Compl. ¶¶ 15, 1C.)

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          As with injunctions, and again consistent with Congress' understanding, courts have held

  that the sunilax remedy of officer and director bays. is remedial and not categorically subject to

  Section 2462's statute of limitatiQr~s. Ems.., SEC v. Brown, 740 F. Supp. 2d 148, 157 (D.D.C. 2010)

  (denying motion to dismiss on statute of limitations grounds because officer and director bar (and

  permanent inJunction against future violations) sought not a penalty but remedial relief necessary to

  prevent future harm to the public); SEC v. Caserta, 75 F. Supp. 2d 79, 89 (E.D.N.Y. 1999) (denying

  defendant's motion to dismiss officer and director bar claims under Section 2462 where plaintiff

  may establish that the bar's purpose was to "prevent [defendant} from harming other companies or

  tie securities market in the futuYe").

          Nor does Kokesh's holding provide any reason to disturb this analysis. The bar Lemedy is

  prospective and not pecuniary, making Kokesh's deterrence versus compensating-the-investor

  dichotomy inapplicable. And, as with injunctions, there can be no dispute that the principal purpose

  of the remedy is to "prevent [defendant] from harming others] ... or the securities market."

  Caserta, 75 F. Supp. 2d at 8~1.'s

          After Kokesh, no court has ruled on whether a penny stock bar is a penalty subject to the

  limitations of Section 2462. Defendant points to one of the concurring opinions in Saad, 873 F.3d

  at 304, in which Judge Kavanaugh stated his view that an industry bai unposed in an administLative

  disciplinary proceeding could be punitive after Kokesh. As Saad snakes plain, however, Judge

  I~avanaugh's views were his own. Judge Millett, whcs also wrote separately, expYessly cfiisagreed with

  Judge Kavanaugh's views. In her estimation, "nothing in Kokesh `effectively overYules' or


  ~s Defendant cites to former Commissioner Aguilar's remarks from 2012, and claims he
  "pronounced that an industry bar `is intended to be' punitive." (MTD at 3.) He chid not. See
  www.sec.gov/News/Speech/Detail/S~eech/1365171491510. Indeed, in that same speech, the
  Coininissioner emphasized the prospective nature of industry bars: "Bars are an invaluable tool.
  One o€the most important things that the SEC can do to pYoactively protect investoYs and the
  market is to make sure that bad actors are prevented from doing future harm."
                                                   22
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  `eviscerates"' D.C. Circuit precedent holding that industry bars are remedial anc~ not punitive, id. at

  310, because "the Supreme Court has iuled tune and again that such `occupational deliarment' is a

  `nonpunitive' sanction." Id. at 308-09 (collecting cases). Judge Millett further noted that "a

  disciplinary sanction that is `purely remedial and preventative' but not compensatory—such as a

  general order to cease-and-desist violating the securities laws—is `not a `penalty' or `forfeiture'

  within the meaning of 28 U.S.C. ~ 2462." Id. at 311 (citation omitted). Accordingly, Saad, at most,

  leaves the law with respect to the nature of the penny stock bar unchanged.

          Moreover, like injunctions, the determination of whether a penny stock bar should be

  unposed is fact-specific, requiring an analysis of similar factors and cannot be done on a motion to

  dismiss. These considerations include: "`(1) the egregiousness of the underlying securities law

  violation; (2) the defendant's repeat offender status; (3) the defendant's role or position when he

  engaged in tl~e fraud; (4) the defendant's degree of scientei; (5) the defendant's economic stake in

  the violation, and (6) the likelihood that misconduct will recur."' SEC v. Cole, No. 12 Civ. 8167

  (RJS), 2014 WL 4723306, at *7-8 (S.DN.Y. Sept. 22, 2014), affld, 661 T. App'x 52 (2d Cir. 2016)

  (quoting SEC v. Bankoskv, 716 F.3d 45, 48 (2d Cu. 2013) and noting that the factors are the same as

  those analyzed to assess the propriety of an officer and director bar). With respect to the

  "recurrence" factor, courts typically review the same factors to predict the likelihood of future

  misconduct that support the need for a permanent injunction against further violations of the

  securities laws. Ems. ., SAC v. Becker, No. 09 Civ. 5707 (SAS), 2010 WL 2710613, at *2 (S.DN.Y.

  July 8, 2010) (applying factors and determining that three penny stock offerings made the defendants

  "repeat offenders," and given that they were in their forties, had spent their careers in the industry,

  and refused to accept responsibility, they were likely to repeat their violative conduct).




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          The Amended Complaint pleads facts that support the unposition of a penny stock bar. The

  Amended Complaint alleges that Defendant played a central role in two separate and highly lucrative

  pump and dump schemes that involved repeated manipulative trading and the publication and

  clistiibution of false and misleading promotional materials. (Am. Compl. ¶¶ 1, 30-44; 49; 6Q-68.) It

  alleges that Defendant had a high degree of scienter because he understood that he was engaged in a

  scheme to artificially inflate both companies' share prices for the purpose of capturing that gain in a

  massive sell-off (id. ¶¶ 25-28, 57-59), because the manipulative trading was arranged or controlled by

  him (id. ~¶ 30-31, 61-63), and because he knew, or was reckless in not knowing, that the

  promotional materials for each scheme contained false and misleading claims (id. ¶~ 32-42, 64-65).

  It alleges that Defendant and his cohorts generated $15 million in gross proceeds from the schemes.

  (Id. ¶¶ 49, 67.) And it alleges that Defendant is currently presented with daily opportunities to

  commit further violations of the securities laws given the broker-dealer he runs and his plan to

  expand its operations. (~d. ¶¶ 14, 82.)

  II.     THE CONCURRENT REMEDIES DOCTRINE IS INAPPLICABLE

          Binding Third Circuit precedent makes the concurrent remedies doctrine inapplicable to this

  case, and Defendant's argument that the Commission is attempting "to plead around statute of

  lunitations by renaming the requested relief as `equitable"' (MTD at 17) is meridess. The in}unctive

  remedies the Commission seeks are solely available in equity. They are not concurrently available in

  law and equity. Thus a statute of limitations that bars monetary remedies is inapplicable to

  sunultaneously available injunctive relief.




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  A.     Under Controlling Third Circuit Authority, the Concurrent Remedies. Doctrine Does
         Not Apply Where the Relief Sought at Equity Is Not Available at Law, Even Where
         Both Prayers for Relief Arise from the Same Set of Facts

          When a remedy (like an injunction) is solely available in equity, the court exercises its

  exclusive equity jurisdiction in awarding such relief irrespective of whether other relief available at

  law is barred. See Russell v. Todd, 309 U.S. 280, 289 (1940). "This doctrine, that where there aye

  two rerr~ec~ies for the protection of a right ane maybe barred and the other not, is no novelty in the

  law." United States v. Whited &Wheless, 246 U.S. 552, 564 (1918). As an exception to this general

  principle, the so-cabled concurrent remedy rule precludes a court from using its equity jurisdiction to

  issue legal remedies that are barred Uy a statute of limitations. See Code v. Anderson, 331 U.S. 461,

  464 (1947) ("equity will withhold its relief in such a case where the applicable statute of limitations

  would bar the concurrent legal remedy"). The term "concurrent" in Co e relates to the very limited

  circumstance where equity had jurisdiction —concurrent with a court at law — to award the same

  remedies at law. Co e merely held that if a party was barred from obtaining a remedy at law because

  of a statute of limitations, that party was barred from obtaining that same relief in a court of equity.'

          As the Third Cu-cuit held in Gruca v. U.S. Steel Com., 495 F.2d 1252, 1257-58 (3d Cir.

  1974), where the complaint seeks an injunction as well as monetary relief, the court does not

  exercise concurrent jurisdiction in awarding equitable relief

          [A]lthough plaintiff's demand for legal and equitable relief arises out of the wine
          factual complex, it does not necessarily follows that the jurisdiction of equity is
          `concurrent' with that of law, as that word is used in Russell v. Todd. By seeking to


  "' In Co e, the receiver of a famed national bank brought an action in equity for monetary relief,
  seel~ing to enforce the assessed liability of the bank's stockholders pursuant to the National Bank
  Act. Although the receiver could have brought multiple suits at law against each individual
  stockholder, he was permitted to bring a singe action in equity that consolidated the clauns against
  all of the stockholders. 331 U.S. at 463. The Court concluded in Co e that this "concurrent"
  equitable proceeding should not be permitted to proceed because the statute of limitations would
  bar the same relief if sought in separate legal actions against the individuals. Id. at 464.

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          rely on the facts giving rise to plaintiff's claim rather than focusing on tl~e nature of
          the Yel~ef sought, defendant's argument misses tl~e mark of the issue before us.
          Although equity jurisdiction is concurrent with that at law whew a remedy is available
          in both legal and equitable forms, the Supreme Court has made it dear that `in the
          federal courts equity has always acted only when legal remedies were inadequate ...'
          and `the expansion of adequate legal remedies provided by the Declaratory Judgment
          Act and the Federal Rules necessarily affects the scope of equity..' Beacon Theatres
          Inc. v. Westover, su ra 359 U.S. at 509, 79 S. Ct. at 956. Here, plaintiff seeks to
          have his job seniority dates changed. An order to change the dates cannot be
          acTueved by a xe~nedy at law. It requires a decree in equity. Thus, juxisc~iction is not
          concurrent.

          Gruca relies on the Supreme Court's decision in Russell v. Todd, 309 U.S. at 289, which

  explains the rule as grounded in the history of the different remedies available at law and equity:

  "[W]here the equity jurisdiction is exclusive and is not exercised in aid or support of a legal right, .. .

  statutes of limitations barring actions at law are inapplicable...." And it is black letter law that

  equity's exclusive jurisdiction includes remedies "of a kind which are peculiar to -equity courts, such

  as reformation, cancellation, injunction." 1 Pomeroy's Ec~uit~Jixris~rudence ~ 136, at 186 and ~ 138,

  at 189 (5th ed. 1941). In this case, as in Russell v. Todd, "the equity jurisdiction is exclusive"

  because the remedy sought — an injunction — is not available at law. The "statutes of limitations

  baYxing actions at law are [therefore] inapplicable." 309 U.S., at 289. Accordingly, the Third Circuit

  rejected tie argument Defendant makes here that "since plaintiff's legal and equitable remedies are

  predicated upon the same factual complex, they axe `concurrent'." Gxuca, 495 F.2d at 1257-58.

          Courts since Gruca have continued to follow its rude and have Yepeatedly concluded that

   equitable and legal remedies are not "concuxYent" if they provide for diffeYent relief" Algrant v.



  " See•Le.~., Baines v. Am. Tobacco Co., 161 F.3d 127, 151 (3d Cir. 1998) (holding. claim for medical
  monitoring fund was not separate equitable relief, but a claim for "money damages" that was tune-
  b~rred as a legal remedy); N.~. v. Reliant EneYg~ Mid-Ad. Power Holdings, LLC, No. Q7 Civ. 5298,
  2009 WL 3234438, at *12 (E.D. Pa. Sept. 30, 2009)(citing Gruca, holding that Section 2462 would
  not bar claim for injunctive relief because "[e}c~uity jurisdiction is not concurrent where a legal
  remedy cannot achieve the purpose sought to be achieved by an equitable remedy"); Foodtown v.
  Si~ina Mktg. Sys., Inc., 518 F. Supp. 485, 490-91 (b.N.J. 1980). (citing Gxuca and observing that
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  Evergreen Valley Nurseries Ltd. P'ship, 126 F.3d 178, 184-85 (3d Cir. 1997) (~VITD at 17") is

  consistent with Gruca and offers Defendant no support. In that case, plaintiffs —obligors on

  allegedly fraudulently issued notes —attempted to escape a one year statute of limitations by casting

  their private cause of action as one for a declaratory judgment rather than the time-barred rescission

  relief ot~ierwise available. Id. at 181. As in Gruca, the Court analyzed whetheY plaintiffls legal

  remedies were inadequate —that is, whether the xec~uested declaratory judgment would provide relief

  that the plaixftiffs could not have obtained though timely filed rescission claims —and concYuded

  that because both remedies would have relieved the plaintiffs from theiY obligation to pay back the

  notes, "plaintiffs' claims could have been resolved by available timely legal remedies." Id. On that

  determination, the Court toted that the remedies were concurrent and barred plaintiffs' equitable

  claims fox declaratory relief because they were bared by tlYe statute of limitations from obtaining

  rescission. Id. at 181-82.18

  B.      Even in Those Circuits That Interpret the Doctrine Differently from the Third
          Circuit, Courts Refuse to Apply the Doctrine to Bar Equitable Claims Brought by the
          Government

          In seeking to bar the Commission's prayer for in}unctive relief on the basis of the concurrent

  remedies doctrine, Defendant asks this Court to ignore GYuca and its progeny in favor of out-of-


  plaintiff's equitable ctaim of unjust enrichment cannot be dismissed based on a statute of limitations
  applicable to legal claims for monetary relief until the court can properly determine whether the legal
  and equitable remedies are in fact concurrent, or whether the "equitable relief is needed to make the
  plaintiff whole"); see also FEC v. Christian Coalition, 965 F. Supp. 66, 70-72 (D.D.C. 1997)
  (properly construing the pYinciples of Russell, finding, that Section 2462 does not bar the
  government's claim for the equitable remedy of an injunction).

  'g The same is true of Westinghouse Elec. Cori. v. Franklin, 993 F.2d 349, 356-57 (3d Cir. 1993 , an
  whic~i Defendant also relies. (NITD at 17.) There, the plaintiffs sought rescission of a ~u~chase of
  securities, but the Court held that where a statute of limitations existed that governed "similar
  equitable clauns" to rescission, the action for equitable relief would be governed by that same
  statute. Id. The Coininission's equitable prayer fox injunctive relief here is not similar to any
  remedy barred by Section 2462.

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  Circuit authority that interprets t ie concurrent remedies doctrine differently. (MTD at 17-18.)19 But

  even courts in those Circuits have rejected their own broader concurrent remedies rule and held it

  inapplicable to Government enforcement actions like the Commission's action here.

         For example, in United States v. Banks, 115 F.3d 916, 919 (11th Cir. 1997}, the court refused

  to bar the Government's claims fox injunctive relief where its claim for civil penalties was barred by

  Section 2462, holding that under the traditional canon of construction applying limitations periods

  strictly in favor of the Government, "the concu~rYent remedy rule cannot properly be invoked against

  the government when it seeks equitable relief in its official enforcement capacity." Id. The Tenth

  Circuit concurs. See SiexYa Club v. Okl. Gas and Elec. Co., 816 F.3d 666, 676 (10th Cir. 2016)

  ("[T]he concurrent remedy doctrine does not apply to the government."); United States v. Telluride,

  146 F.3d 1241, 1248 (10th Cir. 1998) (the "concurrent remedy rule" does not apply to "a suit by the

  United States in its goveYnmental capacity"); see also Sierra Club v. Duke Energy Ind., Inc., No. 08

  Civ. 0437, 2Q1Q WL 3667042, at * 10, n. 18 (S.D. Ind. Sept. 20, 2010) ("It is well-established that the

  concurrent remedy doctrine does not apply to suits brought by the United States in its official

  en€orcement capacity.").20 And Defendant's response to this weight of authority —that the



  19 In making his case, Defendant even offers a Texas. District Court decision that is currently on
  appeal. (MTD at 18 citing United States v. Luminant Generation Co.. LLC, No. 13 Civ. 3236, 2015
  WL 500937"8, at *7 (N.D. Tex. Aug. 21, 2015), ~upeal docketed, No. 17-10235 (5th Cir. Mar. 1,
  2017).)

  20 For that reason, alone, Defendant's reliance on Nat'1Parks and Conservation Assn, Inc. v. TVA,
  2045 WL 565704 (E.D. Tenn. Mar. 11, 2005), rev'd and remanded, 480 F.3d 410 (6th Cir. 2007)
  (MTD at 18~; Nemkov v. O'Hare Chicago Corp., 592 F.2d 351, 355 (7th Cir. 1979) (MTD at 19},
  and Nat'1Parks and Conservation Assn, Inc. v. TVA, 502 F.3d 1316 (11th Cir. 20Q7) (MTD at 19)
  — alI cases brought by private plaintiffs — is misplaced. As noted above, the Eleventh Circuit
  squarely rejected the applicability of concurrent remedies doctrine to government claims in Banks.
  115 F.3d at X19. While there is no Circuit-level authority on this issue in the Sixth and Seventh
  Circuits, district courts there also have recognized the exception to the doctrine for actions brought
  by the gave~nment. Ems. ., United States v. Am. Elec. Power Serv. Com., 136 F. Supp. 2d 808, 811
  (S.D. Ohio 2001); United States v. US Steel Com., 966 F. Supp. 2d 801, 814 (N.D. Ind. 2Q13}.
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  Government must show "ox~g°ing conduct" to avail itself of this. rule (MTD at 18) — is unsupported

  by any citation to legal authority and, as discussed above, would contravene the well-established

  precedent in this Circuit granting injunctive relief when. the nature of the prior violations, and other

  factors, demonstrate a likelihood of future violations, even where illegal conduct has ceased. SEC v.

  Gallashex, No. 87 Civ. 3904, 1989 WL 95252, at *10 (E.D. Pa. 1989) ("[C]ourts have recognized that

  when other factors indicate a likelihood of future violations, an injunction is appropriate even if the

  defendant ceased i}legal activity before the SEC filed suit."); Northeastern Fin. Com., 268 F. Supp.

  at 414, 416 (same).

           Against this weight of precedent in this CiYcuit and others, Defendant urges this. Court to

  adopt the Ninth Circuit's singular interpretation of the concurrent remedies doctrine in FEC v.

  Williams, 104 F.3d 237 (9th Cir. 1996) (MTD at 17-18). But that case is not controlling, relies on a

  misreading of Supreme Court authority, and has been distinguished by later Ninth CiYcuit district

  court decisions on facts similaY to those hexe.21 Moreover, Williams' holding that "because the claim

  fog injunctive relief is connected to the claun for legal relief, the statute of limitations applies to

  both," 104 F.3d at 240, was a reading of Co e and Russell explicitly rejected by the Third CiYcuit in

  Gruca, 495 F.2d at 1257-58 ("[A]Ithough plaintiff's demand for legal and equitable relief arises out

  of the same factual complex, it does not necessarily follow that the jurisdiction of equity is

  `concurrent' with that of law, as that word is used in Russell v. Todd.").




  z1 See SEC v. Mercury Interactive, LLC, No. 07 Civ. 2822 (RS), 2008 WL 4544443, at *4 (N.D. Cal.
  Sept. 3d, 2008) ("Williams was nat an SEC enforcement action, but rather a suit brought by the
  Fec~eYal Election Coininission seeking civil penalties and equitable relief for campaign violations.");
  see also Tri-Dam v. Schediwv, No. 11 Civ. 1141 (AWI), 2x11 ~L, 66 2587, at *6 (E.D. Cak Dec. 21,
  2011) (ho~c~ing that Williams did not bar claim for in}unctive relief where plaintiff was not seeking
  pecuniary relie~.

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            Given the Third Circuit's long-held rule that Co e does not apply to injunctions, and the

  weight of authority refusing to apply Co e's pxix~ciple to enforcement actions, the Court should not

  use this case as the first to depart from Gruca.

                                             CONCLUSION22

            For the reasons set forth above, the Coininission respectfully requests that the Court deny

  Defendant Guy Gentile's motion to dismiss the Complaint.

   Dated:          New York, New York
                   November 17, 2017




                                                     N cy A. Brown
                                                     Simona K. Suh
                                                     Jorge G. Tenreiro
                                                     SECURITIES AND EXCHANGE
                                                     COMMISSION
                                                     New York Regional Office
                                                     Brookfield Place
                                                     20Q Vesey Street, Suite 400
                                                     New York, New Yoxk 10281-1022
                                                     (212) 336-9145 (Tenreiro)
                                                     tenYeiroj@sec.gov




  z2 The Conitnission does not address here Defendant's many unsupported and readily refuted factual
  assertions, suc~i as when the Miami Regional Office of the Cointnission initiated its ongoing
  investigation of Defendant's operation of his broker-dealer, axed the scope of that investigation.
  (See e. ., MTD at 6, 23-24.) None of them is appYopxiately considered on this Motion to Dismiss.

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                                   CERTIFICATE Off' SERVICE

         Ihereby ceYti~y thatIcaused the foregoing Plainti€fls Memorandum of Law in Opposition to

  Defendant's Motion to Dismiss, dated November 17, 2417, to be served on Defendant by emaiYing

  a copy of the same to Defendant's counsel, Adam Ford, at aford(c~,fordobYien.com, this 1~th day of

  November 2017.



                                                         ancy A. Town
